Case 1:20-cr-20051-BB Document 30 Entered on FLSD Docket 01/27/2022 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-20051-CR-BLOOM

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 ARCENIO FELIZ-CUEVAS,

       Defendant.
 _________________________________/

               OBJECTION TO PRESENTENCE REPORT (PSR)

       The defendant, Arcenio Feliz-Cuevas, through counsel objects to paragraph

 31 of the PSR wherein he has not received a 2-level reduction for safety valve

 pursuant to Section 5C1.2(a). The government has advised undersigned counsel

 that it has approved this reduction.   The defense request that this approval be

 confirmed with the government and that this reduction be updated in the PSR.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER

                                By:     s/Daniel L. Ecarius
                                        Daniel L. Ecarius
                                        Assistant Federal Public Defender
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                                          1
Case 1:20-cr-20051-BB Document 30 Entered on FLSD Docket 01/27/2022 Page 2 of 2




                            CERTIFICATE OF SERVICE

       I HEREBY certify that on January 27, 2022, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that

 the foregoing document is being served this day on all counsel of record or pro se

 parties, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.




                                                s/ Daniel L. Ecarius
                                                 Daniel L. Ecarius




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